EXHIBIT 6
                                                                                              RECelVe)

                                 NOTICE OF TERMINATION                                     JUL 2 0 2021

                                         "SPIDER-MAN"                                    ALAN BRAVERMAN



To:   Marvel Entertainment, LLC                          Marvel Studios, LLC
      Marvel Worldwide, Inc.                             MVL Rights, LLC
      Marvel Property, Inc.                              MVL Development, LLC
      Marvel Characters, Inc.                            Marvel Characters, Inc.
      1290 Avenue of the Americas                        500 South Buena Vista Street
      New York, NY 10104                                 Burbank, CA 9 1521
      Attn: John Turitzin, Chief Counsel                 Attn: David Galluzzi, Chief Counsel
            Eli Bard, Deputy Chief Counsel

       The Walt Disney Company                           Marvel Animation Inc.
       500 South Buena Vista Street                      623 Circle Seven Drive
       Burbank, CA 9 152 1                               Glendale, CA 91201
       Attn: Alan Braverman, General Counsel             Attn: Legal Department



       PLEASE TAKE NOTICE that pursuant to Section 304(c) of the United States Copyright

Act (17 U.S.C. § 304(c)) and the regulations issued thereunder by the Register of Copyrights, 37

C.F.R. § 201. 10, Patrick S. Ditko, Administrator of the Estate of author Stephen J. Ditko, being

the person entitled to terminate copyright transfers by the author pursuant to said statutory

provisions, hereby te1minates all pre-January 1, 1978 exclusive or non-exclusive grants of the

transfer or license of the renewal copyright(s) in and to the illustrated comic book stories, featuring

the character Spider-Man (a.k.a. Peter Parker), authored or co-authored by Stephen J. Ditko (a.k.a.

Steve Ditko), and published in the respective comic book issues listed in paragraph 2 of this Notice,

all as set forth below:

        1.      The names and addresses of the grantees and/or successors in title whose rights are

being terminated are as follows: Marvel Entertainment, LLC, Marvel Worldwide, Inc., Marvel

Property, fnc. , Marvel Characters, Inc., 1290 Avenue of the Americas, New York, NY 10104;

Marvel Studios, LLC, MVL Rights, LLC, MVL Development, LLC, Marvel Characters, Inc., 500
South Buena Vista Street, Burbank, CA 91521 ; The Walt Disney Company, 500 South Buena

Vista Street, Burbank, CA 91521 ; and Marvel Animation Inc., 623 Circle Seven Drive, Glendale,

CA 91201. Pursuant to 37 C .F.R. Section 201.lO(d), service of this Notice is being made by First

Class Mail, postage pre-paid to the above grantees or successors at the addresses shown.

        2.      The copyrighted work(s) to which this Notice of Termination applies (individually,

" Work"; collectively, the "Works") are the illustrated comic book stor(ies), featuring the characte r

Spider-Man (a.k.a. Peter Parker), authored or co-authored by Stephen J. Ditko (a.k.a. Steve Ditko) 1

along with all the characters, story elements, and/or indicia appearing therein, which stories were

published and embodied in the comic book issues identified as follows:



        1
           This Notice of Termination also applies to all material authored or co-authored by Stephen J .
Ditko (in any and all medium(s), whenever created) that was reasonably associated with these Works and
was registered with the United States Copyright Office and/or published within the termination time
window, as defined by 17 U.S.C. § 304(c) and the effective date of this Notice ofTermination. This Notice
of Termination likewise includes any character, story element, or indicia reasonably associated with these
Works, including, without limitation, Spider-Man (a.k.a. Peter Parker), Aunt May (Parker, nee Reilly), J.
Jonah Jameson, The Burglar, John Jameson, Maxie Shiffman, Liz Allan, Sally Avril, Vulture (a.k.a. Adrian
Toomes), Eleonore Brant, Flash Thompson (a.k.a. Eugene Thompson, Raymond Warren, Human Torch
(a.k.a. Johnny Storm), Doctor Octopus (a.k.a. Otto Octavius), Charles Buchanan, Betty Brant, Sandman
(a.k.a. William Baker), Principal Davis, Seymour O ' Reilly, Jessica Jones, Doctor Doom (a .k.a. Victor von
Doom), Mister Fantastic (a.k.a. Reed Richards), Invisible Girl (a.k.a. Sue Storm), Thing (a.k.a. Ben
Grimm), Martha Connors, Billy Connors, The Lizard (a.k.a. Curt Connors), The Living Brain, Charlie
Murphy, Dr. Nicholas Bromwell, Electro (a.k.a. Maxwell Dillon), Big Man (a.k.a. Frederick Foswell),
Montana (a.k.a. Jackson Brice), Fancy Dan (a.k.a. Daniel Brito), Ox (a.k.a. Raymond Bloch), Blackie
Gaxton, Bennett Brant, Mysterio (a.k.a. Quentin Beck), Green Goblin (a.k.a. Norman Osborn), Hulk (a.k.a.
Bruce Banner), 8 .J. Kosmojian, Kraven the Hunter (a.k.a. Sergei Kravinoft), Chameleon (a.k.a. Dmitri
Smerdyakov), Anna May Watson, Daredevil (a.k.a. Matt Murdock), Foggy Nelson, Karen Page,
Ringmaster, Human Cannonball, the Great Gambonnos, Eliot Franklin (Clown), Bruto the Strongman,
Dorrie Evans, Wi lson Allan, Ned Leeds, Rocky Roberts, Iron Man (a.k.a. Tony Stark), Captain America
(a.k.a. Steve Rogers), Thor, Giant-Man (a.k.a. Hank Pym), Wasp (a.k.a. Janet Van Dyne), Richard Wormly,
Scorpio n (a .k.a. Mac Gargan), Doctor Farley Stillwell, Beetle (a.k.a. Abner Jenkins), Princess Python (a.k.a.
Zelda DuBois), Precious, Lucky Lobo (a.k.a. Francisco Lobo), Spencer Smythe, Spider Slayer (Mark I),
Crime Master (a.k.a. Nicholas Lewis, Sr.), Barney Bushkin, Molten Man (a.k.a. Mark Raxton), Cat Burglar,
Gwen Stacy, Harry Osborn, Foxy Briggs, Dean Corliss, Prof. Miles Warren, Looter (a.k.a. Norman Fester),
Sally Green, Mendel Stromm, Max Young, Joe Smith, Tommy Tomkins, Mary Jane Watson, The Fox
(a.k.a. Reynard Slinker), Angel, Beast, Cyclops, Thor, Doctor Strange (a.k.a. Dr. Stephen Strange), Iceman,
Professor Charles Xavier, and Xandu. Every reasonable effo11 has been made to find and list herein all such
material. Nevertheless, if any such material has been omitted, such omission is unintentional and
 involuntary, and this Notice a lso applies to each and every such omitted material.

                                                      2
Title                                          CoQyright Claimant2              Date              Co12yright
                                                                                Co12yright        Reg. No.
                                                                                Secured
Amazing Spider-Man Vol. 1, No. 1               Non-Pareil Publishing            12/10/1962        B 12112
                                               Corporation
Amazing Spider-Man Vol. 1, No. 2               Non-Pareil Publishing            2/12/1963          B22020
                                               Corporation
Amazing Spider-Man Vol. 1, No. 3               Non-Pareil Publishing            4/9/ 1963          B32700
                                               Corporation
Amazing Spider-Man Vol. 1, No. 4               Non-Pareil Publishing            6/11/1963          B45564
                                               Corporation
Amazing Spider-Man Vol. 1, No. 5               Non-Pareil Publishing            7/9/1963           B50165
                                               Corporation
Amazing Spider-Man Vol. 1, No. 6               Non-Pareil Publishing            8/8/ 1963          B57887
                                               Corporation
Amazing Spider-Man Vol. 1, No. 7               Non-Pareil Publi shing           9/10/1963          B63121
                                               Corporation
Amazing Spider-Man Vol. 1, No. 8               Non-Pareil Publishing            10/8/1963          B72284
                                               Corporation
Amazing Spider-Man Vol. 1, No. 9               Non-Pareil Publishing            11/12/1963         B72337
                                               Corporation
Amazing Spider-Man Vol. 1, No. l 0             Non-Pareil Publishing            12/9/1963          B79629
                                               Corporation
Amazing Spider-Man Vol. 1, No. 11              Non-Pareil Publishing             1/10/1964         B86108
                                               Corporation
Amazing Spider-Man Vol. 1, No. 12              Non-Pareil Publishing            2/ 11/ 1964        B93262
                                               Corooration
Amazing Spider-Man Vol. 1, No. 13              Non-Pareil Publishing            3/10/1964          B96821
                                               Corporation
 Amazing Spider-Man Vol. 1, No. 14             Non-Pareil Publishing            4/9/1964           B102930
                                               Corporation
 Amazing Spider-Man Vol. l , No. 15            Non-Pareil Publishing             5/12/1964         B112138
                                               Corporation
 Amazing Spider-Man Vol. 1, No. 16             Non-Pareil Publishing             6/9/1964          B127533
                                               Corporation
 Amazing Spider-Man Vol. 1, No. 17             Non-Pareil Publishing             7/9/1964          B121808
                                               Corporation
 Amazin~ Spider-Man Vol. 1, No. 18             Non-Pare il Publishing            8/ 11/1964        Bl29017

        2
          Pursuant to 37 C.F .R. § 20 I .10(b)( I )(iii), this Notice of Termination includes the name of at least
one author of each Work to which this Notice of Tennination applies. The listing herein of any corporation
as copyright claimant is done per Copyright Office records, and is not to be construed as an admission that
any given work is or was a "work made for hire," nor is anything else herein to be construed as any such
admission. Nothing contained in this Notice of Termination shall be construed to in any way limit or waive
any right or remedy that Patrick S. Ditko, as Administrator of the Estate of Stephen J. Ditko, may have, at
law or in equity, with respect to the subject matter hereof, all of which is hereby expressly reserved.

                                                        3
                                     Corporation
Amazing Spider-Man Vol. 1, No. 19    Non-Pareil Publishing      9/8/1964       B 136435
                                     Coro oration
Amazing Spider-Man Vol. 1, No. 20    Non-Pareil Publishing      10/8/1964      B140632
                                     Corporation
Amazing Spider-Man Vol. 1, No. 21    Non-Pareil Publishing      11/ 10/1964    B147192
                                     Corooration
Amazing Spider-Man Vol. 1, No. 22    Non-Pareil Publishing      12/10/ 1964    B157768
                                     Corporation
Amazing Spider-Man Vol. 1, No. 23    Non-Pareil Publishing      1/ 12/1965     B162019
                                     Corporation
Amazing Spider-Man Vol. 1, No. 24    Non-Pareil Publishing      2/11/1965      Bl67575
                                     Corporation
Amazing Spider-Man Vol. 1, No. 25    Non-Pareil Publishing      3/11/1965      Bl 73323
                                     Corporation
Amazing Spider-Man Vol. 1, No. 26    Non-Pareil Publishing      4/8/1965       Bl 79808
                                     Corooration
Amazing Spider-Man Vol. 1, No. 27    Non-Pareil Publishing      5/11 /1965     B l 90434
                                     Corporation
Amazing Spider-Man Vol. 1, No. 28    Non-Pareil Publishing      6/8/1965       B 196230
                                     Corporation
Amazing Spider-Man Vol. 1, No. 29    Non-Pareil Publishing      7/8/1965       B200698
                                     Corporation
Amazing Spider-Man Vol. 1, No. 30    Non-Pareil Publishing      8/10/1965      B208267
                                     Como ration
Amazing Spider-Man Vol. 1, No. 3 1   Non-Pareil Publishing      9/9/1965       B2 15968
                                     Comoration
Amazing Spider-Man Vol. 1, No. 32    Non-Pareil Publishing      10/ 12/ 1965   B229417
                                     Corporation
Amazing Spider-Man Vol. 1, No. 33    Non-Pareil Publishing      11/11/1965     B229427
                                     Corooration
Amazing Spider-Man Vol. 1, No. 34    Non-Pareil Publishing      12/9/1965      B238351
                                     Corooration
Amazing Spider-Man Vol. 1, No. 35    Non-Pareil Publishing      1/11/1966      B241516
                                     Comoration
Amazing Spider-Man Vol. 1, No. 36    Non-Pareil Publishing      2/10/1966      B248224
                                     Corporation
Amazing Spider-Man Vo l. 1, No. 37   Non-Pareil Publishing      3/10/1966      B25 1737
                                     Corporation
Amazing Spider-Man Vol. 1, No. 38    Non-Pareil Publishing      4/12/ 1966     B257745
                                     Corooration
The Fantastic Four Annual            Canarn Publishers Sales    7/2/1963       A645698
Vol. 1, No. 1                        Corooration
StranKe Tales Annual Vol. 1, No. 2   Vista Publications, Inc.   6/11/1963      A6404 16
Amazing Spider-Man Annual            Non-Pareil Publishing      6/11/1964      A713458
Vol. 1, No. 1                        Corporation

                                            4
 Amazing Spider-Man Annual                   Non-Pareil Publishing           6/1/1965          A772745
 Vol. 1, No. 2                               Corporation


       3.        The express or implied grant(s) and/or transfer(s) to which this Notice of

Termination applies was (were) made in that (those) certain copyright assignment(s) on the back

of the check(s) issued by Marvel Entertainment, LLC' s ("Marvel") predecessor company(ies) to

Stephen J. Ditko, with respect to the above-listed Works, which was (were) dated on or about the

time of the respective publication of such Works, as well as any other grant(s) regarding the Works

by Stephen J. Ditko to Marvel 's predecessor(s). 3

       4.        The effective date of termination for each respective Work shall be July 17, 2023.

       5.        Stephen J. Ditko died on June 29, 2018, with no surviving spouse, children or

grandchildren. Patrick S. Ditko, as Administrator of the Estate of Stephen J. Ditko, owns the

termination interest of Stephen J. Ditko pursuant to 17 U.S.C. § 304(c)(2)(O), and is the person

entitled to exercise the tem1ination right as to the grant(s) identified herein. This Notice has been

signed by all persons needed to terminate said grant(s) under 17 U.S.C. § 304(c).

Dated: July 16, 2021                                 TOBEROFF & ASSOCIATES, P.C.



                                                      Marc Toberoff

                                                      23823 Malibu Road, Suite 50-363
                                                      Malibu, California 90265
                                                      Tel: (310) 246-3333
                                                      As counsel for and on behalf of Patrick S. Ditko,
                                                      Administrator of the Estate of Stephen J. Ditko



        3
          This Notice of Termination also applies to each and every grant or alleged grant by Stephen J.
Ditko of rights under copyright in and to the Works that falls within the applicable termination time window
(defined by 17 U.S.C. § 304(c) and the effective date of this Notice of Termination). Every reasonab le effort
has been made to find and list herein every such grant and/or transfer. Nevertheless, if any such grant and/or
transfer has been omitted, such omission is unintentional and involuntary, and this Notice of Termination
applies as well to each and every such omitted grant and/or transfer.
                                                      5
                                CERTIFICATE OF SERVICE

       I hereby ce1iify that I caused a true copy of the foregoing document described as

NOTICE OF TERMINATION to be served this 16th day of July, 2021, by First Class Mail,

postage prepaid, upon each of the following:

      Marvel Entertainment, LLC                          Marvel Studios, LLC
      Marvel Worldwide, Inc.                             MVL Rights, LLC
      Marvel Property, Inc.                              MVL Development, LLC
      Marvel Characters, Inc.                            Marvel Characters, Inc.
      1290 A venue of the Americas                       500 South Buena Vista Street
      New York, NY 10104                                 Burbank, CA 91521
      Attn: John Turitzin, Chief Counsel                 Attn: David Galluzzi, Chief Counsel
            Eli Bard, Deputy Chief Counsel

       The Walt Disney Company                            Marvel Animation Inc.
       500 South Buena Vista Street                       623 Circle Seven Drive
       Burbank, CA 91521                                  Glendale, CA 91201
       Attn: Alan Braverman, General Counsel              Attn: Legal Department



       I declare under penalty of perjury that the foregoing is true and correct. Executed this 16th

day of July, 2021, at Malibu, Cali fomia.




                                               Breck Kadaba
                                               Toberoff & Associates, P.C.
                                               23823 Malibu Road, Suite 50-363
                                               Malibu, California 90265

                                               Counsel for Patrick S. Ditko,
                                               Administrator of the Estate of Stephen J. Ditko




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